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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )           Case No. 8:04CR147
                                             )
                     Plaintiff,              )
                                             )
       v.                                    )                   ORDER
                                             )
PAMELA E. AINSWORTH,                         )
                                             )
                     Defendant.              )


       The government has filed a motion for hearing pursuant to Federal Rule of Criminal

Procedure 35(b). Filing No. 49.

       IT IS ORDERED that:

       1.   Counsel for the government shall notify the court when the motion pursuant to

Rule 35(b) is ripe for decision. The motion shall not be decided until counsel for the

government certifies that the motion is ripe.

       2.   Counsel for the defendant, if previously appointed pursuant to the Criminal

Justice Act, is reappointed to represent the defendant for purposes of the Rule 35(b)

motion. If retained, counsel for the defendant remains as counsel for the defendant until

the Rule 35(b) motion is resolved or until given leave to withdraw.

       3.   The Federal Public Defender shall provide CJA counsel with a new voucher.

       DATED this 22nd day of August, 2005.

                                             BY THE COURT:



                                             s/Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
